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                            **NOT FOR PRINTED PUBLICATION**


                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION



 UNITED STATES OF AMERICA                              §
                                                       §
 v.                                                    §      CASE NUMBER 9:19-CR-1
                                                       §
 THOMAS STEWART HOLCOMB                                §

                                               ORDER

       The defendant has submitted a pro se letter to the court requesting to receive credit toward

the completion of his sentence for time spent in jail. (Doc. #32). The defendant requests credit for

the time he claims he was in the custody of the United States Marshal.

       Title 28 U.S.C. § 2241 gives the district court authority to grant a writ of habeas corpus

where a state prisoner “is in custody in violation of the Constitution or laws or treaties of the United

States.” 28 U.S.C. § 2241(c)(3). Section 2241 is correctly used to attack the manner in which a

sentence is executed. Tolliver v. Dobre, 211 F.3d 876, 877 (5th Cir. 2000). Petitioner’s challenge

to the calculation of time credited toward the completion of his sentence is a challenge to the

execution of his sentence. Thus, petitioner’s claim is properly asserted in a petition for writ of

habeas corpus pursuant to 28 U.S.C. § 2241.

       IT IS THEREFORE ORDERED that the above-referenced letter (Doc. #32) is

STRICKEN from the docket sheet of the defendant’s criminal case. The Clerk of Court is

DIRECTED to file the document submitted by the defendant as a new civil action. It is further




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        ORDERED that the new civil action shall be opened as petition for writ of habeas corpus

pursuant to 28 U.S.C. § 2241 and assigned according to the regular practice for allotment of newly

filed civil actions.


         SIGNED this 27th day of April, 2021.




                                                    _________________________
                                                    Zack Hawthorn
                                                    United States Magistrate Judge




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